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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
                                    THIRD DIVISION


UNITED STATES OF AMERICA,                                              Criminal No. 05-275 DSD/AJB

                               Plaintiff,

v.                                                        REPORT AND RECOMMENDATION

(1)    JASON CARMELL METCALF, and
(2)    JONATHON JERELL METCALF,

                               Defendants.


       Andrew R. Winter, Esq., Assistant United States Attorney, for the plaintiff, United States of
       America;

       Rick E. Mattox, Esq., for defendant Jason Carmell Metcalf; and

       Robert M. Paule, Esq., for defendant Jonathan Jerell Metcalf.


               This action came on for hearing before the Court, Magistrate Judge Arthur J. Boylan,

on September 23, 2005, at the U.S. Courthouse, 300 South Fourth Street, Minneapolis, MN 55415.

The Court issued separate Orders on Motions dated September 27, 2005, reserving defendants’

motions to suppress statements and search and seizure evidence for submission to the District Court on

report and recommendation.

               Based upon the file and documents contained therein, along with an exhibit received at

hearing, the Magistrate Judge makes the following:

Findings

               Co-defendants in this matter, Jason Carmell Metcalf and Jonathon Jerell Metcalf are
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identical twin brothers. Both defendants have been charged in a one-count indictment which alleges the

offense of conspiracy to distribute and possess with intent to distribute cocaine base. In July 2005,

Minneapolis Police Officer Kurt Radke received information from a confidential reliable informant who

identified Jason Metcalf and Jonathon Metcalf as persons selling narcotics. Based upon the informant’s

reports Officer Radke set up successive controlled drug buys which took place on July 22, 2005, and

July 25, 2005. On each occasion the informant purchased drugs from Jason Metcalf after making

arrangements by monitored cell phone calls to Jason Metcalf. A third controlled drug buy was

arranged to take place on July 26, 2005, again through a monitored direct call from the informant to

Jason Metcalf. The informant was provided with pre-recorded buy funds, and he told Jason Metcalf

that he wanted to purchase two ounces of crack cocaine. Jason Metcalf told the informant that he

needed to go pick up the drugs before meeting to make the transaction. As a result of previous

surveillance during which officers had observed Jason Metcalf going to an apartment building at 1324

Irving Avenue North, officers again went to that location and observed Jason Metcalf go inside.

Officers thereafter followed Jason Metcalf when he came out of the building and proceeded to the pre-

determined location at Penn Ave. and Dowling for the controlled drug buy. The surveillance was

continued; an exchange of two ounces of crack cocaine for $1,700 was observed; and Jason Metcalf

left the scene in a vehicle driven by Edward James Nelson. Officers immediately met the informant and

field-tested the drugs. Upon obtaining a positive test result, officers decided to make a vehicle stop and

arrest Jason Metcalf. The vehicle occupied by the defendant was stopped at approximately 2:20 p.m.

and Metcalf was arrested by uniformed officers in two squad units near Lowry and Penn Ave.

Ultimately there were four uniformed policemen and two plain clothes officers at the scene. Jason

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Metcalf identified himself to officers as Jonathon Metcalf. However, the officers were aware that Jason

and Jonathon Metcalf were identical twins and were able to promptly confirm Jason Metcalf’s identity

based upon a neck tattoo. When confronted with his false self-identification, Jason Metcalf admitted

his true name and told officers that his address was 1314 Irving Avenue, Apartment 304. Jason

Metcalf and the driver, Edward Nelson, were then placed in the back of a squad car. Subsequently, a

female was observed standing by the squad car, talking with Jason Metcalf while also speaking on a

cell phone. An officer overheard the female saying “go get it” on the cell phone. The officers asked her

who she was and why she was talking to Metcalf, but she refused to cooperate and was thereafter

arrested for obstructing justice. The female’s cell phone was seized and the display showed that the

number 612-369-3946 was the number of the last contact. When officers asked him to identify the

woman, Jason Metcalf stated that she was Jonathon Metcalf’s girlfriend, and when he was asked

Jonathon Metcalf’s phone number, the same cell number was provided. Jason Metcalf was searched

and officers seized nine bags of marijuana along with $1,712 in cash. Jason Metcalf was not given a

Miranda warning at any time prior to his being transported to the police station for processing and

detention.

                Meanwhile, officers construed the female’s cell phone communication to be instructions

to Jonathon Metcalf to destroy evidence, and Officer Radke therefore contacted Minneapolis Police

Officer Phillip Sosnowski to instruct him to go to 1314 Irving Avenue to engage in a “knock and talk”

meeting with Jonathan Metcalf and to freeze the scene in anticipation of obtaining a search warrant.

Sosnowski was advised to use caution because Jonathon Metcalf was suspected on being a member of

the Vice Lords gang. The officer was already en route to 1314 Irving. At the apartment building

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Sosnowski met additional officers and all of them were wearing raid gear. They went together to the

third floor of the four-story building after conferring with the building manager and learning that No. 304

was the subject apartment. The third floor contained four or five units, including Apt. No. 304. There

was no answer when officers knocked on the door, so they waited in the common area of the third

floor for approximately 10 minutes before Jonathan Metcalf and another man arrived. Upon inquiry by

officers, Jonathon Metcalf first identified himself as “T” (for “Twin”) and stated that he was going to visit

someone in unit 305, then unit 302. Metcalf was asked to give his real name, to which he responded,

“Jon,” and then added “Jon Clark.” Officers were aware that he was providing a false identification

and therefore conducted a pat down of the defendant’s person for safety purposes. In the course of

the pat search Officer Sosnowski felt an object in the left pants pocket which he could not identify.

Consequently, he reached into the pocket and removed something in cellophane packaging that

appeared to be crack cocaine. Jonathon Metcalf was then arrested and handcuffed. Further search of

defendant’s person resulted in seizure of keys, money, and a cell phone. The time was approximately

2:45 p.m. Keys were tried in the door lock of Apt. No. 304, but the door was not opened and no

entry was made at that time. Sosnowski also asked Metcalf the number for the cell phone.

                Officer Sosnowski relayed information relating to the arrest and search of Jonathon

Metcalf to Officer Radke who was undertaking to obtain a Hennepin County warrant to search

apartment No. 304. At approximately 4:00 p.m. a drug sniffing dog was brought to the scene. The

dog made a positive hit on No. 304 and this information was likewise conveyed to Radke. Sosnowski

was advised that a search warrant had been authorized, and he commenced execution of the warrant at

approximately 5:00 p.m., during daylight hours. Officers knocked and announced their presence

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before entering, though the warrant authorized unannounced entry. Entry was made by use of a key

seized during the search of Jonathon Metcalf and no one was present in the apartment. Drugs were

found in the search.

                Search Warrant. On July 26, 2005, Hennepin County District Court Judge David M.

Duffy issued a warrant to search the location described as 1314 Irving Avenue North, Apartment 304,

Minneapolis, Minnesota, including any attached or detached storage shed or garages (Hearing Exh.

No. 1). The search warrant identified the objects of the warrant as controlled substances, including

crack and powder cocaine; drug paraphernalia; money and property traded or otherwise obtained from

drug sales; drug weighing and packaging materials; documents evidencing constructive possession of

controlled substances; firearms; and communications devices. The warrant was issued on the basis of

probable cause contained in the Affidavit of Minneapolis Police Officer Kurt Radke, including

information obtained by confidential reliable informant, controlled drug buys, dog sniff, and surveillance.

                Based upon the foregoing Findings, the Magistrate Judge makes the following:

Conclusions

                Jason Metcalf Statements. Statements made by defendant Jason Metcalf to officers

following his arrest were not made in response to unlawful questioning and suppression of the

statements is not required. Defendant was not given the Miranda warning at the scene of his arrest.

Nonetheless, Officer Radke’s request for defendant’s true name and address was for purposes of

obtaining basic identification and biographical information and was lawfully requested on that ground.

Even though the information may be incriminating, a response to a request for routine biographical

material is not generally subject to suppression except perhaps where the request was made with the

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awareness that the requested information was directly relevant to the substantive offense. United States

v. Brown, 101 F.3d 1272, 1273 (8th Cir. 1996). Under the circumstances presented here the address

questioning was properly conducted for purposes of confirming defendant’s identity and was

particularly appropriate where defendant had already falsely identified himself to officers. Subsequent

statements by Jason Metcalf in which he identified a particular female as his brother’s girlfriend and he

provided a cell phone number were provided voluntarily and the statements are admissible for purposes

of impeachment. The government does not argue that the non-Miranda statements are admissible in the

case-in-chief and the Court herein makes no determination in that regard, except to find that the non-

Miranda statements were not necessary to establish probable cause for issuance of the search warrant

that was executed in this case.

                Jonathon Metcalf Searches and Statement. The initial search of the person of

Jonathon Metcalf was based upon evidence that established probable cause to believe that the

defendant had committed an offense, and crack cocaine wrapped in cellophane which was discovered

in the defendant’s pocket was lawfully seized. Probable cause for the search existed under a totality of

circumstances such that officers knew that defendant’s brother Jason Metcalf had been arrested and a

cell phone call had been made to Jonathon Metcalf’s cell from the scene of his brother’s arrest; as a

result of surveillance, officers had reason to suspect that drugs were being kept at Apt. No. 304 and

Jonathon Metcalf’s arrival at the apartment building was consistent with apparent instructions to “go get

it;” and Jonathon Metcalf had given a false name to officers. United States v. Amaya, 52 F.3d 172,

174 (8th Cir. 1995). Further search of Jonathon Metcalf’s person was a lawful search incident to arrest

for possession of drugs. United States v. Morales, 923 F.2d 621, 626 (8th Cir. 1991). Suppression of

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evidence obtained as a result of searches of the person of defendant Jonathon Metcalf is not required.

                Defendant Jonathon Metcalf’s statement revealing his cell phone number was not

obtained in violation of defendant’s constitutional rights under Miranda. The information was given by

the defendant pursuant to Officer Sosnowski’s customary request for basic identification and

biographical information and was properly requested on that ground. Nonetheless, while the response

to a request for routine biographical material that may be incriminating is not generally subject to

suppression, where the request was made with the awareness that the requested information was

directly relevant to the substantive offense, the questioning is subject to greater scrutiny. United States

v. Brown, 101 F.3d 1272, 1274 (8th Cir. 1996). In this instance Officer Sosnowski was aware that

the cell phone number was pertinent with regard to whether Jonathon Metcalf had been alerted to his

brother’s arrest. Upon reviewing the matter with greater scrutiny, however, it is clear that the same

evidence could have been immediately obtained via the cell phone itself and discovery of the evidence

was inevitable and imminent in any event. Under these circumstances the information was not obtained

unlawfully and suppression of defendant Jonathon Metcalf’s statement is not required.

                Search Warrant. Evidence seized pursuant to a warrant to search the residence

described as 1314 Irving Avenue North, Apartment 304, Minneapolis, Minnesota, including any

attached or detached storage shed or garages (Hearing Exh. No. 1), was not unlawfully obtained in

violation of the constitutional rights of either defendant Jason Carmell Metcalf or defendant Jonathon

Jerell Metcalf. The apartment residence search warrant was issued on July 26, 2005, and was based

upon sufficient probable cause as stated in the Affidavit of Minneapolis Police Officer Kurt Radke and

as determined by Hennepin County District Court David M. Duffy. The warrant properly and

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sufficiently identified the location of the search and the items to be seized, and the evidence submitted to

establish probable cause was not unlawfully obtained.1 The search warrant in this matter was lawfully

issued and there is no requirement for suppression of evidence seized pursuant to the warrant.

Furthermore, the Court finds no evidence to support a contention that officers used keys seized

pursuant to search of Jonathon Metcalf’s person to open the door or to enter Apt. No. 304 prior to

obtaining a search warrant, and therefore the Court finds no justification for suppressing evidence for

any reason relating to illegal entry of the unit. United States v. Lyons, 898 F.2d 210, 212-13 (1st Cir.

1990)(key provided an appropriate means to identify a location, and insertion of the key in the lock

was not itself a search).

                Based upon the foregoing Findings and Conclusions, the Magistrate Judge makes the

following:

                                        RECOMMENDATION

                The Court hereby recommends that:

                1. Defendant Jason Carmell Metcalf’s Motion to Suppress Statements, Admissions,

and Answers be denied [Docket No. 29];

                2. Defendant Jason Carmell Metcalf’s Motion to Suppress Evidence Obtained as a

Result of Search and Seizure be denied [Docket No. 34];




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          Neither defendant in this matter has requested hearing pursuant to Franks v. Delaware, 438
U.S. 154 (1978) and no evidence has been put forth to suggest that Franks hearing would be
appropriate.



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                3. Defendant Jason Carmell Metcalf’s Motion to Challenge Arrest be denied [Docket

No. 35]; and

                4. Defendant Jonathon Jerell Metcalf’s Motion to Suppress Evidence Obtained as a

Result of Search and Seizure be denied [Docket No. 23];

                5. Defendant Jonathon Jerell Metcalf’s Motion to Suppress Statements, Admissions,

and Answers be denied [Docket No. 23]. This motion was ruled moot in the Magistrate Judge’s

Order on Motions dated September 27, 2005.


Dated:     October 14, 2005


                                                           s/ Arthur J. Boylan
                                                         Arthur J. Boylan
                                                         United States Magistrate Judge




                Pursuant to Local Rule 72.1(c)(2), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties, written objections
which specifically identify the portions of the Report to which objections are made and the bases for
each objection. This Report and Recommendation does not constitute an order or judgment from the
District Court and it is therefore not directly appealable to the Circuit Court of Appeals. Written
objections must be filed with the Court before October 31, 2005.

                Unless the parties stipulate that the District Court is not required by 28 U.S.C. § 636 to
review a transcript of the hearing in order to resolve all objections made to this Report and
Recommendation, the party making the objections shall timely order and file a complete transcript of
the hearing within ten days of receipt of the Report.




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